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         EXHIBIT 16
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                                               8115A Success is Peace of Mind Presentation - Transcript


 1   Rick Singer:          So this last year we worked with 61,000 families in their homes domestically
 2                         and 29,000 families internationally.. So my goal today is to teach you what
 3                         goes on behind closed doors. So I read applications at two schools every year.
 4                         This last year, I read at the two most prominent universities in America. So
 5                         I’m a part of the admissions process. As I had several of the ex-presidents of
 6                         the most prominent schools in America tell me: “If you really want to win at
 7                         this game, you have to be a part of the game.” So we’re going to let you read
 8                         at our schools, so that you know the process and you know the politics that go
 9                         on.
10                         So I’m going to teach you what the game is, I’m going to teach you what the
11                         rules of the game are, and I’m going to teach you how to win the game. Here’s
12                         a small liberal arts school, that has 1,000 kids. 7,000 kids applied, 500 to 600
13                         get accepted for 365 spots. And know that of the 365, 51 are already taken in
14                         your kid’s grade. Because those 51 are athletes and those 51 spots have already
15                         been taken. So now were down to under 300 spots. Right? It’s crazy,
16                         absolutely crazy what’s going on.
17                         So I’m not here to scare you actually. Okay? So, here’s what they didn’t teach
18                         you in high school. How to get in, what matters most, and why. And that’s
19                         what we’re going to discuss today. Okay, I’m going to teach you about the
20                         process, how to ask the right questions, and you need to start being
21                         introspective of what your end goals are. If any of your kids are thinking about
22                         going to grad school, med school, law school, business school, you have to
23                         look at this game differently. You have to look at what does it take to get into
24                         grad school first.
25                         Here’s what the colleges want. Colleges want academic success from your
26                         kid. So want to make sure that you have the grades, that you can do the work
27                         and the rigor. They want to make sure that you’re going to be this social
28                         philanthropist. And you’re going to make a big name on the campus and the
29                         community. And they want to know that you’re going to write a check
30                         someday. Or your parent’s willing to write a check now. That’s what the
31                         colleges are looking for.
32                         I did 761 side doors into the best schools in America. There’s a backdoor, and
33                         there’s a side door. And I created a side door. So the front door is you get in
34                         on your own. The backdoor is through institutional advancement, it’s all the
35                         people writing major big checks. And the side door is figuring out how I can
36                         do that for one-tenth of the money, to get into the same school that is there.
37                         That’s what you’re fighting. There’s this battle that you have athletes, legacy
38                         giver, others that want to give, and the underserved minorities. So that’s the
39                         battle, that’s the truth. So you’ve got to play the game out, that’s why we’re
40                         applying to 12 to 20 schools. Because nothing is for certain. It’s scary out
41                         there. It really is.
42                         I’ve got to give you an example. My best kid of all time, all time. Graduated
43                         from Harvard, Rhodes scholar, number one at his high school in San Francisco.
44                         Phenomenal family, more money than God. But just, the kids so smart. The
45                         kid worked four years in the Stanford cancer research lab, actually did real
46                         work. He applies to college, the college of his choice, I didn’t think it was the
47                         right college, but it’s his choice. We all thought it was this college, he applied


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 1                  to that college. He did not get in early. Swam, you know, did all these things.
 2                  Not good enough to be there but perfect grades, perfect scores. Did everything
 3                  on the planet. And his high school college counselor, used to be a head of
 4                  Stanford’s admissions. He doesn’t like me at all. Because even though he gets
 5                  credit for all the kids getting into school from his school, I don’t even take any
 6                  of the credit, but he doesn’t like that people use other people outside, cause it’s
 7                  supposed to be him. That’s okay.
 8                  So when the kid didn’t get in, we called up that school, and that dean of
 9                  admissions, I called him and I said, “So how do you not accept this kid? Like,
10                  what’s wrong with this kid?” They said: “We think he’s going to implode.”
11                  He’s never had really anything go wrong. I said, excuse my language, I said
12                  that’s BS. He wrote his essay about at 16 he learned how to drive and he got
13                  in a car accident the first time he ever drove. Here’s a kid who’s been perfect
14                  his whole life, driving and he hits another car. And then, in his essay, he talks
15                  about how he told his family that he was bisexual. And he couldn’t believe it,
16                  but now it’s great because it’s all out. And I’m accepted as a regular person.
17                  And this schools telling me he’s going to implode when he gets there. I’m
18                  like, where do you get, like who’s reading this stuff? Cause we went line by
19                  line through the essay. With his college counselor, me and the dean. And
20                  we’re like, at the end of it, like how?
21                  So at the end of the phone call they said, well that’s what my team said. We
22                  called the next school that’s as competitive as that school, they took him on
23                  the spot. Cause he’s an amazing kid. But again, if you didn’t have an advocate
24                  that may not have happened. Right? And it happens a lot. Like why didn’t
25                  you, like really? So, being well rounded. Losing, cause that’s the greatest
26                  thing about sports, you’ve got to get up the next day and play. Your kid’s
27                  going to be great. And they’re going to be great in the world.




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